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 6   Attorneys for Defendant
     ZUMIEZ INC.
 7

 8                               UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10                                      EASTERN DIVISION
11   DEVIN SANTIVANEZ, an individual,                   CASE NO. 5:22-cv-00079
12                  Plaintiff,                          DEFENDANT ZUMIEZ INC.’S
                                                        NOTICE OF REMOVAL OF
13            vs.                                       ACTION TO THE UNITED STATES
                                                        DISTRICT COURT FOR THE
14   ZUMIEZ INC. AND DOES 1 - 24,                       CENTRAL DISTRICT OF
     inclusive,                                         CALIFORNIA PURSUANT TO 28
15                                                      U.S.C. §§ 1332 AND 1441
                    Defendants.                         (DIVERSITY)
16
                                                        (Filed concurrently with Declaration
17                                                      of Nathan W. Austin; Request for
                                                        Judicial Notice; Certification and Notice
18                                                      of Interested Parties; and Civil Cover
                                                        Sheet)
19
20   TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
21   CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION, AND
22   TO PLAINTIFF DENIS JACKSON AND HIS ATTORNEYS OF RECORD:
23             PLEASE TAKE NOTICE that Defendant ZUMIEZ INC. (“Zumiez” or
24   “Defendant”) hereby invokes this Court’s jurisdiction under the provisions of
25   28 U.S.C. §§ 1332 and 1441 to remove this action from the Superior Court of
26   California, in and for the County of Riverside, on the grounds of diversity
27   jurisdiction. In support thereof, Defendant asserts the following:
28   ///
                                                    1
           DEFENDANT’S NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR
           THE CENTRAL DISTRICT OF CALIFORNIA PURSUANT TO 28 U.S.C. §§ 1332 AND 1441 (DIVERSITY)
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 1                                 DIVERSITY JURISDICTION
 2             1.    This Court has original jurisdiction over this matter pursuant to
 3   28 U.S.C. §§ 1332 and 1441. This case may be removed pursuant to 28 U.S.C.
 4   §§ 1332, 1441, and 1446 because it is a civil action between citizens of different
 5   states and the amount in controversy exceeds $75,000, exclusive of interest and costs.
 6                                TIMELINESS OF REMOVAL
 7             2.    On December 8, 2021, Plaintiff DEVIN SANTIVANEZ (“Plaintiff”)
 8   filed a civil Complaint against the named Defendant in the Superior Court of the State
 9   of California, in and for the County of Riverside, entitled DEVIN SANTIVANEZ, an
10   Individual v. ZUMIEZ INC. AND DOES 1 – 24, inclusive (Case No. CVRI2105558).
11   (Declaration of Nathan W. Austin in Support of Removal of Action filed concurrently
12   herewith [“Austin Decl.”], ¶ 2.) True and correct copies of the Complaint and
13   Summons are attached as Exhibits A and B, respectively, accompanying the
14   Declaration of Nathan W. Austin.
15             3.    In the Complaint, Plaintiff alleges the following causes of action: (1)
16   Wrongful Termination in Violation of Public Policy; (2) Retaliation in Violation of
17   Labor Code section 1103.5 (Austin Decl., Exh. A.)
18             4.    Plaintiff served Defendant ZUMIEZ INC. with the Summons and
19   Complaint on December 13, 2021, along with a Civil Cover Sheet, Certificate of
20   Counsel, Notice of Case Management Conference, Notice of Department
21   Assignment, and ADR Information packet. (Austin Decl., ¶¶ 3-4.) True and correct
22   copies of these documents are attached to the accompanying Declaration of Nathan
23   W. Austin as Exhibits C, D, E, F and G, respectively.
24             5.    On December 14, 2021, Plaintiff filed the Proof of Service of Summons
25   for Defendant Zumiez Inc., indicating that Zumiez Inc. was served on December 13,
26   2021. (Austin Decl., ¶ 5.) A true and correct copy of the Proof Service is attached as
27   Exhibit H to the accompanying Declaration of Nathan W. Austin.
28   ///
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           DEFENDANT’S NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR
           THE CENTRAL DISTRICT OF CALIFORNIA PURSUANT TO 28 U.S.C. §§ 1332 AND 1441 (DIVERSITY)
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 1         6.       On January 11, 2022, Defendant filed an Answer to the Complaint in
 2   the Superior Court of the State of California, County of Riverside, asserting a general
 3   denial as permitted by California Code of Civil Procedure section 431.30(d) and
 4   asserting various affirmative defenses on behalf of Defendant Zumiez Inc. (Austin
 5   Decl., ¶ 6.) A true and correct copy of the Answer is attached to the accompanying
 6   Declaration of Nathan W. Austin as Exhibit I.
 7         7.       As of the date of this Notice of Removal, Exhibits “A” through “I”
 8   attached to the accompanying Declaration of Nathan W. Austin constitute all of the
 9   pleadings and papers received and/or filed by Defendant, and/or currently on file, in
10   this matter, and no further proceedings have occurred in the state court. (Austin
11   Decl., ¶ 7.)
12         8.       This removal is timely because it is filed within thirty (30) days after the
13   service of a copy of Plaintiff’s Summons and Complaint, and it thus falls within the
14   time period mandated by 28 U.S.C. § 1446(b).
15                  REMOVAL BASED ON DIVERSITY JURISDICTION
16                              DIVERSITY OF CITIZENSHIP
17         9.       This is a civil action of which this Court has diversity jurisdiction under
18   28 U.S.C. section 1332. This action may be removed to this Court by Defendants
19   pursuant to 28 U.S.C. sections 1441(b) and 1446 because it is an action between
20   citizens of different states and the matter in controversy exceeds $75,000, exclusive
21   of interest and costs. See paragraphs 10 through 15 in support herein as well as the
22   Declaration of Nathan W. Austin submitted in support of this Notice of Removal
23   (“Austin Decl.”).
24         10.      Plaintiff is, and at all times relevant was, an individual residing in
25   the State of California. To establish citizenship for diversity purposes, a natural
26   person must be a citizen of the United States and domiciled in a particular state.
27   Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983). Persons
28   are domiciled in the places where they reside with the intent to remain or to which
                                                   3
       DEFENDANT’S NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR
       THE CENTRAL DISTRICT OF CALIFORNIA PURSUANT TO 28 U.S.C. §§ 1332 AND 1441 (DIVERSITY)
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 1   they intend to return. Kanter v. Warner-Lambert Co, 265 F.3d 853, 857 (9th Cir.
 2   2001). Plaintiff is an individual. Defendant is informed and believes and thereon
 3   allege Plaintiff was and still is a citizen of the State of California. See Austin Decl.,
 4   Exh. A.
 5         11.    Defendant ZUMIEZ INC. was, and at the time of filing of the
 6   Complaint, still is, a corporation formed under the laws of the State of
 7   Washington with its principal place of business in the State of Washington.
 8   Zumiez Acquisition Inc. was originally registered as a Washington corporation with
 9   its principal place of business in Everett, Washington. See Defendant ZUMIEZ
10   INC.’S Request for Judicial Notice in Support of Defendant ZUMIEZ INC.’S
11   Removal of Action to the United States District Court for the Central District of
12   California Pursuant to 28 U.S.C. §§ 1332 AND 1441 (Diversity) (“RJN”) Exhibit 1,
13   ¶ 1., Zumiez Acquisition Inc.’s name was changed to ZUMIEZ INC. by an Amended
14   Statement by Foreign Corporation. See RJN Exhibit 2. ZUMIEZ INC. continues to
15   be a Washington corporation with its principal place of business, and its headquarters
16   is now located at 4001 204th Street SW Lynnwood, Washington 98036, RJN Exhibit
17   2, ¶ 4; Exhibit 3. Hertz Corp. v. Friend, 130 S. Ct. 1181, 1192 (2010) (“We conclude
18   that ‘principal place of business’ is best read as referring to the place where a
19   corporation’s officers direct, control, and coordinate the corporation’s activities. It
20   is the place that Courts of Appeals have called the corporation’s ‘nerve center.’ And
21   in practice it should normally be the place where the corporation maintains its
22   headquarters – provided that the headquarters is the actual center of direction, control,
23   and coordination, i.e., the ‘nerve center’”). Therefore, ZUMIEZ INC. is a citizen of
24   Washington for purposes of diversity of citizenship.
25         12.    Accordingly, under 28 U.S.C. § 1332(c)(1), there is complete diversity
26   of citizenship between the parties.
27         13.    The presence of Doe Defendants has no bearing on diversity with
28   respect to removal as 28 U.S.C. § 1441 provides that the citizenship of defendants
                                                 4
       DEFENDANT’S NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR
       THE CENTRAL DISTRICT OF CALIFORNIA PURSUANT TO 28 U.S.C. §§ 1332 AND 1441 (DIVERSITY)
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 1   sued under fictitious names shall be disregarded for purposes of determining whether
 2   an action is removable on the basis of diversity jurisdiction. See 28 U.S.C.
 3   § 1441(b)(1).
 4                                AMOUNT IN CONTROVERSY
 5             14.   To support diversity jurisdiction, the amount in controversy must
 6   usually exceed $75,000, exclusive of interest and costs. 28 U.S.C. § 1332(a). In
 7   determining the amount in controversy, courts first look to the complaint. Generally,
 8   "the sum claimed by the plaintiff controls if the claim is apparently made in good
 9   faith." Ibarra v. Manheim Invs., Inc. (9th Cir. 2015) 775 F.3d 1193, 1197.
10             15.   Plaintiff alleges that he has suffered mental pain and suffering as well
11   as physical manifestations thereof, in an amount to be established at trial in excess of
12   $100,000. See Austin Decl., Exh. A., ¶ 19.
13                                        VENUE IS PROPER
14             16.   Venue lies in the United States District Court for the Central District of
15   California pursuant to 28 U.S.C. section 1446(a) because the State Court action was
16   filed in Riverside County, and Riverside County is in the Central District’s
17   jurisdiction.
18                                  CONSENT TO REMOVAL
19             17.   Defendant is unaware of any other defendants having been named or
20   served with the Complaint in this action. Accordingly, in accordance with 28 U.S.C.
21   § 1446(b), all named defendants in this action consent to removal.
22                            NOTICE TO COURT AND PARTIES
23             34.   Promptly after the filing of this Notice of Removal in the United States
24   District Court for the Central District of California, written notice of the removal will
25   be given by the undersigned to counsel for Plaintiff and a copy of this Notice of
26   Removal will be filed with the Clerk of the Superior Court of the State of California,
27   in and for the County of Ventura.
28   ///
                                                    5
           DEFENDANT’S NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR
           THE CENTRAL DISTRICT OF CALIFORNIA PURSUANT TO 28 U.S.C. §§ 1332 AND 1441 (DIVERSITY)
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 1            35.   This Notice of Removal is signed by counsel for Defendant pursuant to
 2   Federal Rule of Civil Procedure, Rule 11.
 3       WHEREFORE, Defendants pray that the above action now pending against it in
 4   the Superior Court of the State of California, County of Imperial, be removed to this
 5   Court.
 6   Dated: January 12, 2022                JACKSON LEWIS P.C.
 7
                                            By: /s/ Nathan W. Austin
 8                                              NATHAN W. AUSTIN
                                                BAILEY A. MCCABE
 9
                                            Attorneys for Defendant
10                                          ZUMIEZ INC.

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       DEFENDANT’S NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR
       THE CENTRAL DISTRICT OF CALIFORNIA PURSUANT TO 28 U.S.C. §§ 1332 AND 1441 (DIVERSITY)
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1                                  PROOF OF SERVICE
2
           I am employed in the County of Sacramento, State of California. I am over
3    the age of 18 and not a party to the within action; my business address is 400 Capitol
     Mall, Suite 1600, Sacramento, California 95814.
4
           On January 12, 2022, I served the foregoing documents described as:
 5
     DEFENDANT ZUMIEZ INC.'S NOTICE OF REMOVAL OF ACTION TO
6       THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
     DISTRICT OF CALIFORNIA PURSUANT TO 28 U.S.C. §§ 1332 AND 1441
7                           (DIVERSITY)
 8   in this action by transmitting a true copy thereof addressed as follows:
9     Robert Hampton Rogers, EsQ                    ATTORNEYS FOR PLAINTIFF
      CALLANAN ROGERS & DZIDA LLP                   DEVIN SANTIVANEZ
10    800 South Figueroa Street, Suite 720
      Los Angeles, CA 90017-2538                    Telephone: 213.599.7595
11    Email:      rrogers@crdattorneys.com          Fax:       213.599.7596
12

13   [X]   MAIL - by placing a true and correct copy thereof enclosed in a sealed
           en7e1R5pe with postage thereon fully prepaid for deposit in the United States
14         Post Office mail box, at my business address shown above, following Jackson
           Lewis P.C.'s ordinary business practices for the collection and processing of
15         mail, of which I am readily familiar, and addressed as set forth below. On the
           same day correspondence is placed for collection and mailing, it is deposited
16         in the ordinary course of business with the United States Postal Service.
17   [X]   STATE - I declare under penalty of perjury under the laws of the State of
           California that the above is true and correct.
18
           Executed on January 12, 2022, at Sacramento, California.
19

20

21
                                            LaDonna Mims
22

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                                        PROOF OF SERVICE
